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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                 Plaintiff,                                     Case No. 16-20723

 vs.                                                            HON. MARK A. GOLDSMITH

 MARIA ELENA LEYVA,

             Defendant.
 __________________________________/

                             ORDER
  DENYING DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE (Dkt. 202)

        Upon motion of Defendant (Dkt. 202) for a reduction in sentence under 18 U.S.C. §
 3582(c)(1)(A), and after considering the applicable factors provided in 18 U.S.C. § 3553(a) and
 the applicable policy statements issued by the Sentencing Commission,

 IT IS ORDERED that the motion is:

       ☐ GRANTED

      ☐ DEFERRED pending supplemental briefing. The Court directs the United States Attorney
 to file a response on or before                                            , along with all Bureau of
 Prisons records (medical, institutional, administrative) relevant to this motion. The Court grants
 leave to file any records with personal or sensitive information under seal. If Defendant desires
 to file a reply brief in support of the motion for compassionate release, the brief is due on or before
 _________________.

       ☒ DENIED after complete review of the motion on the merits.

     ☐ DENIED WITHOUT PREJUDICE because Defendant has not exhausted all
 administrative remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since
 receipt of Defendant’s request by the warden of Defendant’s facility.

          SO ORDERED.

 Dated: September 17, 2020                              s/Mark A. Goldsmith
        Detroit, Michigan                               MARK A. GOLDSMITH
                                                        United States District Judge
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                                 CERTIFICATE OF SERVICE

 The undersigned certifies that the foregoing document was served upon counsel of record and any
 unrepresented parties via the Court's ECF System to their respective email or First Class U.S. mail
 addresses disclosed on the Notice of Electronic Filing on September 17, 2020.

                                                      s/Karri Sandusky
                                                      Case Manager
